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10                        UNITED STATES DISTRICT COURT
11         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
12
13   XIAOMIN LIU,                                 Case No. CV 21-3952-GW-AGRx

14                                                ORDER TO DISMISS ACTION
                        Plaintiff.                WITH PREJUDICE
15         vs.
16   LIFE INSURANCE COMPANY OF
17   NORTH AMERICA; C.H. ROBINSON
     WORLDWIDE, INC. WELFARE
18   BENEFITS PLAN,

19                      Defendant.

20
21         Pursuant to the parties’ stipulation, IT IS HEREBY ORDERED that this
22   entire matter shall be dismissed with prejudice. Each party is to bear their own
23   attorneys’ fees and costs.
24         IT IS SO ORDERED.
25
26   DATE: September 28, 2021                      _______________________
                                                   HON. GEORGE H. WU
27
                                                   United States District Judge
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                 (PROPOSED) ORDER TO DISMISS ACTION WITH PREJUDICE
